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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK


RUBY FREEMAN and WANDREA’ MOSS,

                              Plaintiffs,
                                                                  No. 24-mc-00353-LJL
v.

RUDOLPH W. GIULIANI,

                              Defendant.



                 DECLARATION OF AARON E. NATHAN
    IN SUPPORT OF PLAINTIFFS’ MOTION AND OBJECTION TO CLAIM OF
 EXEMPTION AS TO FUNDS HELD AT PARKSIDE FINANCIAL BANK AND TRUST

       I, Aaron E. Nathan, hereby declare as follows pursuant to 28 U.S.C. § 1746:

       1.     I am counsel to Plaintiffs Ruby Freeman and Wandrea’ Moss (“Plaintiffs”) in the

above-captioned action.

       2.     Attached as Exhibit 1 is a true and correct copy of Defendant’s Opposition to the

Motion of the Unsecured Creditors Committee for an Entry of an Order Directing the Immediate

Appointment of a Trustee Pursuant to 11 U.S.C. § 1104, filed in In re Giuliani, No. 23-12055,

ECF No. 250 (Bankr. S.D.N.Y. June 10, 2024).

       3.     Attached as Exhibit 2 is a true and correct copy of an agreement between Burke

Brands LLC and “Rudolph Giuliani, aka Giuliani Communications LLC,” produced in response

to an information subpoena served on Burke Brands LLC.

       4.     On August 5, 2024, I caused an Information Subpoena with Restraining Notice to

be served on Defendant via certified mail, return receipt requested. The deadline to respond to

that information subpoena with restraining notice was August 15, 2024. As of this filing,
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Defendant has not responded. A true and correct copy of the Giuliani Information Subpoena with

Restraining Notice is attached hereto as Exhibit 3.

       5.      Attached as Exhibit 4 is a true and correct copy of an Information Subpoena with

Restraining Notice dated August 5, 2024, issued to Parkside Financial Bank & Trust, which was

served on Parkside no later than August 13, 2024, when counsel for Parkside accepted service via

email in writing.

       6.      On September 10, 2024, Rudolph W. Giuliani, through his representative Theodore

Goodman, caused an Exemption Claim Form pertaining to an account at Parkside ending in x7580

to be served on Plaintiffs’ by personal delivery to Plaintiffs’ counsel (the “Parkside Exemption

Claim Form”). A true and correct copy of the Parkside Exemption Claim Form is attached as

Exhibit 5.



       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed on September 17, 2024.                       s/ Aaron E. Nathan
                                                      Aaron E. Nathan
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                                                      Attorneys for Ruby Freeman and
                                                      Wandrea’ Moss




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